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                                                                                                                         ~~~~.~.
Name and Prisoner/Booking Number                                                                                         DISTRICT   COURT
                                                                                                             CLERK, U.S.
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Place of Confinement
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Mailing ,4ddress
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                                                                                                            CENTRAL DISTR~             TY
 ~o~ttA ►W~, f:4 °132I~,                                                                                    BY
City, State, Zip Code

(Failure to notify the Court of your change of address may result in dismissal of this action.)




                                         IN THE UNITED STATES DISTRICT COURT
                                               FOR THE                           DISTRICT OF CALIFORNIA
                                                                   ~~~L


 C~1a, ~►~trwt, C1~~R~~fS~                                                       ,
(Full Name ofPlaintif~
                                          P~allltlff~



                                          ~.                                             CASENO.~r~      -~,r-~~2~c~r-L~~c~
                                                                                                (To be supplied by the Clerk)
(~~ CA►~t~ ~~ i~S i~..~~~~~                                  ~~ ,~s
(Full Name ofDefendan[)

~ZZ          :~b~, 0~2~ ~ S6T ~~C~~,~, s6~rs'~r.~
                                                                         s~~ ~`                    CIVIL RIGHTS COMPLAINT
~3~ L~. ~6J~1-~C . LT. i~~(~ifL~ CAS.                                                                  BY A PRISONER

(4)'~G-~• Mr~lD~~bt~S ~ ~Q .~LkEPEi~-                                            ,         ❑ Original Complaint     ~~ ~u~~ ~~`~ ~~~''~~~~
                                          Defendant(s).                                    ❑First Amended Complaint
     heck if there are additional Defendants and attach oaae I-A listine them.       l
                                                                                            'Second Amended Complaint

(~,~ CHLEF ~~Ei~►~L.~.
                                                                            A. JURISDICTION

        This Court has jurisdiction over this action pursuant to:
                   L~28 U.S.C. § 1343(a); 42 U.S.C. § 1983
                   ❑ 28 U.S.C. § 1331; Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971).
                   ❑ Other:

2.      Institution/city where violation occurred: ~1~11~ ~ki(~/1,S CoA~.FCfd~r4A~ FGG~T`~



Reaised 3/15/2016
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                                                      B. DEFENDANTS

1.    Name of first Defendant:           ~1.1'~y aF ~,o.~ ~►-I(yF~~~                   .The first Defendant is employed as:

                             (Position and Title)                                                           (Institution)

2.   Name of second Defendant: SST. S,kkM~1E~ O~ZCa                            .The second Defendant is employed as:
            ~(~~                                                       at      .~~F`
                             (Position and Title)                                                           (Institution)

3.   Name of third Defendant:     ~E (,f-oJ.~                                     .The third Defendant is employed as:
               ~~`r                                                    at       ~CF
                        (Position and Title)                                                      (Institution)

4.   Name of fourth Defendant: ~3, 1/.~(~                                           .The fourth Defendant is employed as:
              S~~                                                      at        '~r~
                        (Position and Title)                                                        (Institution]

If you name more than four Defendants, answer the questions listed above for each additional Defendant on a separate page.


                                                C. PREVIOUS LAWSUITS

].   Have you filed any other lawsuits while you were a prisoner?                         ❑Yes              Ly'No

2.    If yes, how many lawsuits have you filed?                 .Describe the previous lawsuits:

     .~ First prior lawsuit:
          1. Parties:                                    v.
          2. Court and case number:
          3. Result: (Was the case dismissed? Was it appealed? Is it still pending?


      b. Second prior lawsuit:
           1. Parties:                                   v.
          2. Court and case number:
          3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)


      c. Third   prior lawsuit:
           1.     Parties:                                    v.
           2.     Court and case number:
           3.     Result: (Was the case dismissed? Was it appealed? Is it still pending?)


If you tiled more than three lawsuits, answer the questions listed above for each additional lawsuit on a separate page.

                                                                  2
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                                                  D. CAUSE OF ACTION

                                                            CLAIM I
          State the constitutional or other federal civil right that was violated: ~IMEnl~f`1,~~r~C~~ aF
       '
       (~E ~otJS`f8ru~~.o~ "~ NO/L GRa~N_ ~ ~►J~I.I'u~.l A~Ld~Yn [,~fC 2~1~i~~~~i'"
       '~L'r`r c5)~r
                     ~r1(,~~Ihf-~'i ► I~~ ~T'~~DMEN'~ '~Iro~p'~or~J Se.~tE ~ t~~kf ,~ PI~6-~ti~.g~i ~~'vt2~~
          Claim L Identify the issue involved. Check only one. State additional issues in separate claims.
          ❑ Basic necessities                   ❑Mail                 ❑Access to the court       ❑Medical care
          ❑ Disciplinary proceedings            ❑Property             ❑Exercise of religion      ❑Retaliation
          ~ Excessive force by an officers ❑Threat to safety ❑Other:

      3. Supporting Facts. State as briefly as possible the FACTS supporting Claim I. Describe exactly what each
      Defendant did or did not do that violated your rights. State the facts clearly in your own words without citing legal
      authority or arguments.



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      4.   Injury. State how you were injured by the actions or inactions of the Defendant(s).                       ~~-~,




      5.   Administrative Remedies:
           a. Are there any administrative remedies(grievance procedures or administrative appeals)available at your
                institution?                                                                                 Yes    ❑ No
           b.   Did you submit a request for administrative relief on Claim I?                           LJ Yes     ❑ No
           c. Did you appeal your request for relief on Claim I to the highest level?                    Q~Yes ❑ No
           d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you
              did not. ~l(~4ff ~(~brE 7NAT ~4G 161~' ~al1~h/~f~(           ~~n-c F~c~~       DEF~r'D/1~S ~4~d~ll.~
                ~T'~ I~~.~t~i~ Co~S?L~H~S Fx1~19+~+.C'~I.Ar~

                                                               3
I~a~6 ~ 1,2~3 MBE ~ s~P~r~f
                                       2.~ccph~n.
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                                                    CLAIM II               ~-,,~y~
1. State the constitutional or other federal civil right that was violated: V ►~►  ~ME,1pjM/r~~ — (~2UIC-L
-,~►.n a~~Swz1. pU►tJBSk~Mf~►.~'t

2.   Claim II. Identify the issue involved. Check only one. State additional issues in separate claims.
     ❑ Basic necessities                 ❑Mail             ❑Access to the court           ❑Medical care
     ❑ Disciplinary proceedings          ❑Property         ❑Exercise of religion          ❑Retaliation
     ❑ Excessive force by an officer ❑Threat to safety ~ Other: ~EL2~I~fE ~,.1~Z~EM-AGE

3. Supporting Facts. State as briefly as possible the FACTS supporting Claim II. Describe exactly what each
Defendant did or did not do that violated your rights. State the facts clearly in your own words without citing legal
authority or arguments.




4.   Injury. State how you were injured by the actions or inactions of the De




5.   Administrative Remedies.
     a. Are there any administrative remedies(grievance procedures or administrative appeals)available at your
          institution?                                                                             L`7 Y       ❑ No
     b.   Did you submit a request for administrative relief on Claim II?                          Ly'     s   ❑ No
     c.   Did you appeal your request for relief on Claim II to the highest level?                   L~ Yes ❑ No
     d.   If you did not submit or appeal a re uest for administrative relief at any level, briefly explain why you
          did not.     /~~MLsy~.~s(t1A~~.J'~. ~I~~ns(~ c,~e Lla..,►~T(-~ i,.1~F~,~ ~FC~o~,1Ci
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                                                      CLAIM III
1.   State the constitutional or other federal civil right that was violated:~~ ~ g~ ~(►~~h~
     ~/Zu C-C /{rr~ u►r~~ntwr-(. ~u~r.,s,,(~1nh~~

2.   Claim III. Identify the issue involved. Check only one State additional issues in separate claims.
     ❑ Basic necessities                 ❑ Mai1            ❑ Access to the court          ❑Medical care
     ❑ Disciplinary proceedings          ❑ Property        ❑ Exercise of religion         ❑Retaliation
     ~-Excessive force by an officer ❑ Threat to safety ❑Other:

3. Supporting Facts. State as briefly as possible the FACTS supporting Claim III. Describe exactly what each
Defendant did or did not do that violated your rights. State the facts clearly in your own words without citing legal
authority or arguments.




4.   Injury: State how you were injured by the actions or inactions of the Defendant(s).




     Administrative Remedies.
     a. Are there any administrative remedies(grievance procedures or administrative appeals)avai ble at your
         institution?                                                                             es ❑ No
     b.    Did you submit a request for administrative relief on Claim III?                                     L7Y s   ❑ No
     c.    Did you appeal your request for relief on Claim III to the highest level?                  L~VYes ❑ No
     d.    If you did not submit or appeal a request for administrative relief at any level, briefly explain why you
           did not. ~C'~.,~~ ~~i~9~~~ ~~~ ~iA~ ~ ~~~.J2STA.a~Ln~.J ,~J~arr


If you assert more than three Claims, answer the questions listed above for each additional Claim on a separate page.


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                                           E. REQUEST FOR RELIEF




                                                                                                              ~~




     N~[.FSJ+~n~~~

 I declare under penalty of perjury that the foregoing is true and correct

Executed on                ?•O
                           DATE                                              SIGN    R~ OF PLAINTIFF
                                                                                    ~/~-~1 ~~
(Name and title of paralegal, legal assistant, or
 other person who helped prepare this complaint)




(Signature of attorney, if any)




(Attorney's address &telephone number)


                                              ADDITIONAL PAGES

 All questions must be answered concisely in the proper space on the form. If you need more space you may attach
 more pages, but you are strongly encouraged to limit your complaint to twenty-five pages. If you attach
 additional pages, be sure to identify which section of the complaint is being continued and number all pages.
 Remember, there is no need to attach exhibits to your complaint.
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